 Case 3:23-cv-00654-RGJ Document 35 Filed 03/28/24 Page 1 of 3 PageID #: 197




                              UNITED STATES DISTRICT COURT

                              WESTERN DISTRICT OF KENTUCKY


JOANNE BARROWS and SUSAN HAGOOD,                    CASE NO. 3:23-CV-654-RGJ
individually and on behalf of all other similarly
situated,
                                                    Hon. Rebecca Grady Jennings
                         Plaintiffs,

vs.

HUMANA, INC.,

                         Defendant.


      AGREED ORDER REGARDING EXTENSION OF TIME TO FILE AMENDED
                            COMPLAINT

       Plaintiffs JoAnne Barrows and Susan Hagood, (“Plaintiffs”) and Defendant Humana, Inc.

(“Defendant”), by and through their undersigned counsel, hereby agree as follows:

           1) Under Rule 15(a)(1)(B), the deadline for Plaintiffs to serve and file an amended

           complaint “as a matter of course” expires on April 10, 2024;

           2) Plaintiffs have advised Defendant that they intend to serve and file an amended

           complaint, but require additional time to do so;

           3) The parties agree to extend the time for Plaintiffs to serve and file an amended

           complaint.

       For these reasons, it is AGREED and ORDERED that Plaintiffs shall file an Amended

Complaint no later than April 22, 2024.

             March 27, 2024

DATED:
                                                      Hon. Rebecca Grady Jennings
                                                      United States District Court Judge
 Case 3:23-cv-00654-RGJ Document 35 Filed 03/28/24 Page 2 of 3 PageID #: 198




Dated: March 26, 2024                    CLARKSON LAW FIRM, P.C.


                                         By s/Glenn A. Danas
                                            Glenn A. Danas, Esq.
                                            Ryan Clarkson, Esq.
                                            Zarrina Ozari, Esq.
                                            Pro Hac Vice
                                            CLARKSON LAW FIRM, P.C.
                                            22525 Pacific Coast Highway
                                            Malibu, CA 90265
                                            Telephone: (213) 788-4050
                                            gdanas@clarksonlawfirm.com
                                            rclarkson@clarksonlawfirm.com
                                            zozari@clarksonlawfirm.com

                                            John C. Whitfield, Esq.
                                            Gary M. Klinger, Esq., Pro Hac Vice
                                            Glen Abramson, Esq.
                                            MILBERG COLEMAN BRYSON
                                            PHILIPS GROSSMAN, PLLC
                                            19 North Main Street
                                            Madisonville, KY 42431
                                            Telephone: (270) 821-0656
                                            jwhitfield@milberg.com
                                            gklinger@milberg.com

                                            James F. Guilfoyle, Esq.
                                            GUILFOYLE LAW OFFICE
                                            211 East Market Street
                                            New Albany, IN 47150
                                            Telephone: (502) 208-9704
                                            james@guilfoylelawoffice.com

                                            Attorneys for Plaintiffs




                                     2
 Case 3:23-cv-00654-RGJ Document 35 Filed 03/28/24 Page 3 of 3 PageID #: 199




Dated: March 26, 2024                    KAPLAN JOHNSON ABATE & BIRD LLP


                                         By s/ Michael P. Abate (with permission)
                                            Michael P. Abate
                                            Burt Anthony Stinson
                                            KAPLAN JOHNSON ABATE &
                                            BIRD LLP
                                            710 West Main Street, 4th Floor
                                            Louisville, KY 40202
                                            Telephone: (502) 416-1630
                                            mabate@kaplanjohnsonlaw.com
                                            cstinson@kaplanjohnsonlaw.com

                                             Kevin D. Feder
                                             Jason Yan
                                             Gillian M. Mak
                                             Pro Hac Vice
                                             O’MELVENY & MYERS LLP
                                             1625 Eye Street NW, 12061
                                             Washington, DC 20006
                                             Telephone: (202) 383-5164
                                             kfeder@omm.com
                                             jyan@omm.com
                                             gmak@omm.com


                                             Attorneys for Defendants




                                     3
